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                             l/NIT EO STATES DISTRJCT COURT
                               , UJ)DLE DISTRICT OF .FLOR.LOA
                                     ORLANDO DMSION

NUVASIVE, INC.                                       )
                                                     )
               Plaintiff,                            )
                                                     )
 v.                                                  )     Civil Case No. 6:17-cv-2206-orl-18-GJK
                                                     )
ABSOLUTE MEDICAL, LLC. GREG                          )     INJUNCTIVE RELIEF SOUGHT
SOUFLERIS, and DAVE HAWLEY.                          )
                                                     )
               Defendanis.                           )
                                                     )

                            OECl.Al~ATI O!'i_OF THAD DRAGULl .A

       Under penalty of perjury and pursuant to 23 U.S.C. section 1746,              Oc<:~vant,   Thad



       I.      My name is Thad 8M1gulla. I am abov<? the age of 18 and mn fully competent to

give the iestimony coiuaiocd in this Declaration, all of which comes from my personal



       2.      Until recently. I \YllS u sales rcprcsent..'lti~·e for Absolute Medical, Ll-C ("'Absolute

MedlCD.1"). which is contractually obllg;tted   to   be an exclusive distributor of NuVasivc, Inc.

("NuVasivc"). l became a NuVasivc employee shortly after Absoluie Mcclical suddenly and



       3.     Pw'Suant to indUSIJ'Y custom and practice. and as required by Absolute Medical's

distributorship agreement with NuVnsivc, Absolute Medjcal required me to sign a non-compete

n.srccntc:nt as a cond.ition ormy cmploymenL

       4.     Oave Ha""rley is a s:i.les representative for Absolute Medical. Mr.           H~wlcy    is

curttntly soliciting business from and supp0rting surgeries performed by 0.. Paul D. Sawin, who
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 was one of Absolute MedicaJ's surgeon customers 'vi.thin Ha\vley's assig11ed sales territory on

 behalf of Alpllaxec Spine, Joe. ("Alpha1ec").

            5.        Alphatec is a djrect compelitOr ofNuVasivc.

            6.        Ryat1 MiUer is also an Absolule Medical sales representative. One of Absolute

 Medical's        surgeon~tomers      wilhin Mr. Miller's assigned territory recently told me that Mr.

 Miller approached h_im i_n late November or early December about going to dinner and discussing

 Alphalec's products.

            7.        In a December 5. 20 17. telephone cal ~ Mr. Miller told rue that: (a) he converted

 all of the business of Dr. Paul A. Rodas from NuVasivc 10 Alphatcc; and (b) be wos meeting

 widi Dr. Matthew V. Buny r.o discuss Alphare<:'s products the next evening. Bolh Dr. Rodas and

 Dr. Burry are \Vitl1in Mr. Miller's assigned Absoh.Jte Medical S<"iles teni.tOf)'.

            8.        Oo December 13. 2017, Dr. Burry told me that he dined \\ith Mr. Miller and Mr.

 Soulleris on December 6, 20 17, and that they specifically asked him to rry Alphatec's products,

 1:>ut he iodicatcd be v.•as oot interested in doii1g so.

            9.        I did not believe-Mr. Miller's claim about convertin,g Dr. Rodas' busjness as he

 continued t.o utilize NuVws,ivc's products in sui:geries that I supponed.

            10.       Oo Janoary 26, 2018, I received a call from C'.entral Florida Regional Hosp.ital and

 learned that Dr. Roda.• would not be utilizing. NuVasive's products as previously planned in a

 January 29, 2018, surgery. After arriving at tbe hospital to prepare for a diffe.rent surgery, l

 learned that Dr. Rodas cl.ose-to utilize Alphatec 1s products rather than NuVasi\'e's aJtd that Mr.

 Millc:-r and Brnodon Gott.stein (anotl1cr Absolute Medical representative) was $upporting the

surgery.




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         U.      On Jan.lilal)' 29, 2018, I learned that Dr. Burry piraime:d to utilize Alpbatec' s

 products in a February 2, 2018,. su.rge..ry and lhat Mr. Miller will suppon the surgery. Jn fa~~ this



         12.    Dr. Rodas again utilized AJpbalt.>ch' s products in a surgery supported. by Mr.

 Miller on February S, 2018.

         L3.    l feat that, if oot restrained, AbsolWe Medical win continue to oonve:n

 NuVasi¥e's business to Afphm:oc.

         Furthe1, this Declarant sayeth not.

         I declare under penahy of perjwy the foregoing is true and oorrec.t.

                                                   ''\   \ \
 Date:    2-.Js lJ
      ~-~---------
                     1~                                \      . --\~ _______
                                               -Thad--B-rag.,_'"
                                                             _JU....,  _______
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